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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO
                         CIVIL ACTION NO. _3:16-CV-01461-FAB


ISMAEL ROSADO RIVERA               )
AND SAMUEL ROSADO                  )
RIVERA                             )
                                   )
              Plaintiffs           )
                                   )
                                   )
                                   )            COMPLAINT FOR DAMAGES,
v.                                 )
                                   )
ANTELMO BAUTISTA AND               )
BAUTISTA FARMS                     )
TRUCKING, LLC
                                   )
                                   )
                                   )
             Defendants            )
                                   )
                                   )




                     Motion for Voluntary Dismissal with Prejudice

     Now Come Plaintiffs through their undersigned Counsel and respectfully allege
                                       and pray:

      1. Plaintiffs filed this Complaint on March 15, 2016.
      2. Dated April 14, 2016, the Parties entered into a Settlement Agreement as
         informed to the Honorable Court by Informative Motion dated April 15,
         2016.
      3. Defendants have complied with their part of the Agreement by sending two
         checks in the name of the Plaintiffs to subscribing Attorney to be hold in
         trust by Plaintiffs Attorneys until this Court dismisses the Complaint with
         prejudice.
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Wherefore Plaintiffs respectfully prays the Honorable Court to dismiss the
present case with prejudice with each Party bearing their own costs and
Attorneys Fees.

Respectfully Submitted

In San Juan, Puerto Rico

This 19 of April 2016



__s/ Julio M. López Keelan___
     Julio M. López Keelan
